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                         UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

FRANCISCO ANZALDUA,                               §
                                                  §
       Plaintiff,                                 §
                                                  §
v.                                                § CIVIL ACTION NO. 4:23-cv-01325
                                                  §
JPMORGAN CHASE BANK, NA,                          §
                                                  §
       Defendant.                                 §


                         DEFENDANT’S NOTICE OF REMOVAL


       Defendant JPMorgan Chase Bank, N.A. (“JPMC” or “Defendant”) files this Notice of

Removal of this action from the 400th Judicial District Court of Fort Bend County, Texas to the

United States District Court for the Southern District of Texas, Houston Division, the District

and Division encompassing the place where the state court is located. This Notice of Removal is

filed pursuant to 28 U.S.C. §§ 1441 and 1446. In support hereof, Defendant shows this Court as

follows:

       1.      On March 30, 2023, Plaintiff Francisco Anzaldua (“Plaintiff”) filed an Original

Petition, Application for Temporary Restraining Order, Temporary Injunction, Permanent

Injunction, and Request for Disclosures (the “Complaint”) in the 400th Judicial District Court of

Fort Bend County, Texas, styled Francisco Anzaldua v. JPMorgan Chase Bank, NA, where it

was assigned Cause No. 23-DCV-302684.

       2.      Defendant has not been served with a citation. Removal is timely because thirty

days have not elapsed since Defendant was served with a summons or citation. 28 U.S.C.

§1446(b)(1); Murphy Bros. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 354 (1999) (holding



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that the thirty-day deadline to remove begins on the date the summons or citation is served even

if the complaint is received at a prior date). In fact, less than thirty days have elapsed since

Plaintiff filed the Complaint.

       3.      Defendant is, contemporaneously with the filing of this Notice, giving written

notice of filing of this Notice of Removal to the clerk of the 400th Judicial District Court of Fort

Bend County, Texas, and will serve a copy of the Notice of Removal on Plaintiff.

       4.      In accordance with Local Rule 81, copies of all processes, pleadings, orders

signed by the state judge, a copy of the state docket sheet, a complete list of all counsel of record,

together with an index of such documents are attached hereto collectively as Exhibit A.

Defendant has also filed contemporaneously with this document a civil cover sheet.


                                 GROUND FOR REMOVAL: DIVERSITY

       5.      This Court has original jurisdiction over this case under 28 U.S.C. § 1332 because

this is a civil action between citizens of different States where the matter in controversy exceeds

$75,000.

       (a)     The amount in controversy exceeds the federal minimum jurisdictional
               requirements.

       6.      Plaintiff alleges JPMC failed to provide statutory notices prior to posting the real

property located at 1116 Edgewood Dr, Richmond, Texas 77406 (the “Property”) for

foreclosure. Plaintiff seeks a declaratory judgment that the pending foreclosure is wrongful, and

injunctive relief to restrain JPMC from transferring the Property and from proceeding with the

foreclosure sale. See Ex. A-3 at ¶ 41 and Prayer.

       7.      “In actions seeking declaratory or injunctive relief, it is well established that the

amount in controversy is measured by the value of the object of the litigation.” Farkas v. GMAC

Mortg., LLC, 737 F.3d 338, 341 (5th Cir. 2013) (quoting Hunt v. Washington State Apple Advert.


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Com’n, 432 U.S. 333, 347 (1977)). Furthermore, when the right to property is in question, the

value of the property determines the jurisdictional amount in controversy. See Waller v. Prof’l

Ins. Corp., 296 F.2d 545, 547-48 (5th Cir. 1961).

        8.      According to the Fort Bend Central Appraisal District, the Property’s market

value is $229,716. See Ex. B. Plaintiff seeks to prevent JPMC from foreclosing on or transferring

the Property; thus, the amount in controversy includes the value of the Property. Plaintiff also

seeks to recover actual damages, economic damages, damages for lost time, mental anguish and

emotional distress, damages for payment of excess or additional interest, consequential damages,

exemplary damages, and attorney’s fees. See Ex. A-3 at ¶¶ 21, 31-36, and Prayer. Accordingly,

the amount in controversy in this matter meets and exceeds the federal jurisdictional minimum of

$75,000, exclusive of interest and costs.

        (b)     Complete diversity between Plaintiff and Defendant exists.

        9.      Plaintiff was at the time of the filing of this action, has been at all times since, and

is still an individual resident citizen of the State of Texas. For diversity purposes, an individual is

a citizen of the state of his domicile, which is the place of his true, fixed, and permanent home

and principal establishment, to which he has the intention of returning whenever he is absent

there from. See Stine v. Moore, 213 F.2d 446, 448 (5th Cir. 1954). Accordingly, Plaintiff is

citizen of Texas.

        10.     A national banking association is deemed a citizen of the state in which it is

located. 28 U.S.C. § 1348. For purposes of 28 U.S.C. § 1348, a national bank is a citizen of the

state in which its main office, as set forth in its articles of association, is located. See Wachovia

Bank, N.A. v. Schmidt, 126 S. Ct. 941 (2006). JPMC is a national association with its main office,

as designated by its articles of association, in Columbus, Ohio. Defendant, therefore, was at the

time of filing, has been at all times since, and is still a citizen of Ohio.


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       11.       Accordingly, because the amount in controversy exceeds $75,000 and Plaintiff is

a citizen of Texas while Defendant is not, this Court has original jurisdiction over the present

action pursuant to 28 U.S.C. § 1332. Removal is therefore proper.

       WHEREFORE, Defendant JPMorgan Chase Bank, N.A. pray that the above-described

action now pending in the 400th Judicial District Court of Fort Bend County, Texas be removed

to this Court.

                                             Respectfully submitted,

                                               /s/ Wm. Lance Lewis
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                                CERTIFICATE OF SERVICE

       This is to certify that on April 10, 2023, a true and correct copy of the foregoing pleading
has been furnished to Plaintiff’s counsel of record via certified mail, return receipt requested, in
accordance with the Federal Rules of Civil Procedure.

       Robert C. Newark, III
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                                               /s/ Rachel L. Hytken
                                              Rachel L. Hytken




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